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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15- CR-00319 LJO
12                                 Plaintiff,
13                          v.                          ORDER DISMISSING DEFENDANT
14   JOHNNY SONE VORAVONG,                              (Fed.R.Crim.P 48(A))
15                                 Defendant.
16

17          The United States of America, having moved this Court to dismiss the superseding indictment as

18 to above-named defendant pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, without
19 prejudice and in the interest of justice, and good cause appearing;

20          The superseding indictment in the above-entitled case is dismissed without prejudice and in the

21 interest of justice.

22

23 IT IS SO ORDERED.

24      Dated:     August 31, 2018                          /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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     ORDER OF DISMISSAL, FRCrimP 48(a)                  1
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